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  EXHIBIT H
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA




          RYAN QUARLES,

                         Plaintiff,

          VS.                              CIVIL ACTION NO. 21-CV-02813

          COMMISSIONER OUTLAW, ET AL.,

                     Defendants.
          __________________________________________________




                             REMOTE DEPOSITION BY VIDEOCONFERENCE OF

                                                   DETECTIVE GREGORY JARA


                                                               TAKEN ON
                                            WEDNESDAY, FEBRUARY 2, 2022
                                                             10:14 A.M.


                                CITY OF PHILADELPHIA LAW DEPARTMENT,
                                                   CIVIL RIGHTS UNIT
                                        1515 ARCH STREET, 14TH FLOOR
                              PHILADELPHIA, PENNSYLVANIA 19102-1595
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                 Gregory Jara Detective February 2, 2022
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 1          APPEARANCES VIA VIDEOCONFERENCE          1                EXHIBITS
 2                                                   2 Exhibit                   Page
 3 APPEARING ON BEHALF OF THE PLAINTIFF RYAN         3
   QUARLES:
                                                     4  1      INTERVIEW SHEET            10
 4 AARON BELL, ESQUIRE
                                                     5
 5 AARON BELL LAW FIRM
                                                     6
 6 7303 Frankford Avenue
                                                     7
 7 P.O. Box 22024
                                                     8
 8 Philadelphia, PA 19136
                                                     9
 9 (215) 609-4888
                                                    10
10 (833) 683-1636 (Fax)
                                                    11
11 aaronbelllawfirm@gmail.com
                                                    12
12
                                                    13
13 APPEARING ON BEHALF OF THE DEFENDANTS
   COMMISSIONER                                     14
14 OUTLAW, ET AL.:                                  15
15 SHANNON ZABEL, ESQUIRE                           16
16 CITY OF PHILADELPHIA LAW DEPARTMENT              17
17 CIVIL RIGHTS UNIT                                18
18 1515 Arch Street, 14th Floor                     19
19 Philadelphia, PA 19102-1595                      20
20 (215) 683-5433                                   21
21 Shannon.Zabel@phila.gov                          22
22                                                  23
23 ALSO PRESENT:                                    24
24 MARK L. NILSON, MEDIA COORDINATOR                25
25
                                                3                                                         5

 1              INDEX                                1     REMOTE DEPOSITION BY VIDEOCONFERENCE OF
 2                         Page                      2            DETECTIVE GREGORY JARA
 3                                                   3                 TAKEN ON
 4 EXAMINATION BY MR. BELL            5              4          WEDNESDAY, FEBRUARY 2, 2022
 5                                                   5                10:14 A.M.
 6 EXAMINATION BY MS. ZABEL            9             6
 7                                                   7        STENOGRAPHIC REPORTER: Would counsel
 8                                                   8 stipulate to the swearing in of the witness
 9                                                   9 remotely?
10                                                  10        MS. ZABEL: Yes.
11                                                  11        MR. BELL: Yes.
12                                                  12        STENOGRAPHIC REPORTER: I'm going to swear
13                                                  13 you in first, Officer Jara -- or Detective Jara.
14                                                  14 Could you please raise your right hand.
15                                                  15 DETECTIVE GREGORY JARA, having been first duly
16                                                  16 sworn, was examined, and testified as follows:
17                                                  17        STENOGRAPHIC REPORTER: Thank you.
18                                                  18        And are there going to be any
19                                                  19 stipulations?
20                                                  20        MS. ZABEL: No.
21                                                  21        MR. BELL: No.
22                                                  22        STENOGRAPHIC REPORTER: No, okay.
23                                                  23        Ready to begin.
24                                                  24 EXAMINATION
25                                                  25 BY MR. BELL:
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                                                          6                                                                 8

 1     Q Good morning, Detective.                              1 informed me that he arrested Mr. Quarles for VUFA in
 2     A Hi. Good morning, Counselor.                          2 that he was unable to determine -- he was unable to
 3     Q I'm not gonna keep you here all day, I                3 discover a good permit to carry for Mr. Quarles.
 4 only have a couple questions for you. If you don't          4     Q Okay. And after Mr. Quarles was arrested,
 5 understand any of the questions that I ask or if you        5 then you discovered that the firearm that Mr.
 6 want me to rephrase something, just let me know.            6 Quarles had was stolen?
 7     A Okay, sounds good.                                    7     A That is correct. A check of the firearm
 8     Q All right. Can you tell me, how were you              8 that it was alleged Mr. Quarles was in possession of
 9 trained to verify a gun license?                            9 was in stolen status out of Clayton County, Georgia.
10     A It's -- there are computer checks that we            10     Q Okay. And just to be clear, and I kind of
11 conduct, Counselor. The one that stands out to me          11 asked you this already, but, okay, the order --
12 is what's called a QGLP check.                             12 okay, Mr. Quarles was arrested, right?
13     Q Okay. Specifically, how do you verify a              13     A That's correct. Police Officer Tilghman
14 gun license from the State of Georgia, if you know?        14 and his partner arrested Mr. Quarles.
15     A State of Georgia, outside of -- and I'm              15     Q Okay. Now, after the arrest, you found
16 just speaking like in a hypothetical situation here        16 out that the firearm was stolen, correct?
17 -- outside -- if the computer check comes up               17     A That's correct.
18 negative, you can attempt to contact an outside            18     Q All right. Officer -- Detective, I'm
19 agency in Georgia over the phone. Oftentimes, those        19 almost done with you. Did you have an occasion to
20 attempts are difficult, depending upon the time of         20 speak to Mr. Quarles?
21 day and whatnot.                                           21     A I -- as I stated, I did not take Mr.
22     Q Okay. Who specifically would you attempt             22 Quarles's statement.
23 to reach in Georgia?                                       23     Q Okay.
24     A Well, any law enforcement agency, you                24     A Detective Slobodian and Campbell did.
25 know, would be helpful. Off the top of my head, I          25         MR. BELL: All right, Detective, that's


                                                          7                                                                 9

 1 can't think of a designated centralized location in         1 all I have for you.
 2 Georgia. That would be helpful in providing that            2         THE WITNESS: Okay, thanks, Counselor.
 3 information.                                                3         MR. BELL: Thank you.
 4     Q Okay. Do you remember your encounter with             4         MS. ZABEL: Detective, I just have a
 5 Mr. Quarles on March 28, 2020?                              5 couple questions for you.
 6     A I remember being the assigned investigator            6         THE WITNESS: Sure.
 7 to that arrest, Counselor. I, myself, did not take          7 EXAMINATION
 8 the post-Miranda statement from Mr. Quarles, that           8 BY MS. ZABEL:
 9 was two co-workers of mine, Detective Slobodian and         9     Q When you discovered the firearm as stolen,
10 Detective Campbell.                                        10 can you just describe for us briefly what that
11     Q All right. But you were involved in --               11 process is?
12 you did reach out to Georgia in this case, right?          12     A So the first thing is to, you know, look
13     A I attempted, from memory, Counselor, I               13 at the firearm and locate the serial number. There
14 attempted via the computer check to confirm Mr.            14 is a, similar to the gun permit check, there is a
15 Quarles's permit to carry. I could not find any            15 check to check like the status of the firearm by
16 documentation via the computer checks of that              16 running the serial number in PCIC/NCIC.
17 permit.                                                    17         When I queried that serial number, I
18     Q Okay. You did interview Officer Kevin                18 received a stolen status hit, and if I recall
19 Tilghman?                                                  19 correctly, the gun was in stolen status out of
20     A I did conduct that interview.                        20 Clayton County, Georgia.
21     Q All right. Officer, when you interviewed             21     Q As a detective, when you find that a gun
22 Detective -- excuse me -- Kevin Tilghman, Officer          22 is in stolen status, do you make contact with the
23 Tilghman, can you tell us what he told you he              23 owner of the firearm?
24 arrested Mr. Quarles for?                                  24     A Yes, that is protocol, Counselor.
25     A Well, in summary, Detective Tilghman                 25     Q Okay. I'm gonna show you just briefly
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 1 part of the paperwork here. You'll see it pop up on          1        MR. BELL: Same for me.
 2 your screen, hopefully.                                      2        STENOGRAPHIC REPORTER: Okay, sounds
 3     A Okay.                                                  3 great. Thank you.
 4     Q (Screen sharing document.) Okay, so I'm                4        (WHEREUPON, the deposition of DETECTIVE
 5 showing you what has been marked D0048, this is the          5 GREGORY JARA was concluded at 10:21 a.m.)
 6 Ownership and Non-Permission Interview Sheet. Is             6
 7 this the police paperwork that you filled out                7
 8 relevant to the firearm ownership?                           8
 9        (Whereupon, Exhibit 1 was marked for                  9
10 identification.)                                            10
11     A Yes, it is.                                           11
12     Q Okay. Can you tell me the name of the                 12
13 complainant, please?                                        13
14     A The lawful owner of the firearm was a                 14
15 Marquelious McNabb.                                         15
16     Q And when you spoke with Mr. McNabb, it                16
17 looks like some questions were asked -- we're now           17
18 looking at D49 -- it says, "Does" -- number eight --        18
19 "Does the complainant know the defendants?" It              19
20 says, "No." Can you tell me why you put "no" there?         20
21     A I asked Mr. McNabb if he knew Mr. Quarles             21
22 and if Mr. Quarles had permission to be in                  22
23 possession of the firearm, and Mr. McNabb informed          23
24 me that Mr. Quarles did not have permission to have         24
25 the firearm.                                                25


                                                          11                                                                13

 1     Q All right.                                             1                CERTIFICATE
 2     A And he did not know Mr. Quarles.                       2 COMMONWEALTH OF PENNSYLVANIA )
 3     Q Okay.                                                  3                        ) ss:
 4        MS. ZABEL: Those are all the questions                4 COUNTY OF LYCOMING                    )
 5 that I have for you. Mr. Bell might have some                5 I, KELLY M. BRADLEY, RPR-Notary Public, authorized to
 6 follow-up for you.                                           6 administer oaths within and for the Commonwealth of
 7        MR. BELL: I don't have any questions.                 7 Pennsylvania and take depositions in the trial of causes, do
 8        MS. ZABEL: Okay. Detective Jara --                    8 hereby certify that the foregoing is the testimony of
 9        STENOGRAPHIC REPORTER: I do.                          9 DETECTIVE GREGORY JARA.
10        MS. ZABEL: Oh, go ahead.                             10 I further certify that before the taking of said deposition,
11        STENOGRAPHIC REPORTER: First of all, did             11 the witness was duly sworn remotely; that the questions and
12 both of you need a copy of the transcript?                  12 answers were taken down stenographically by the said KELLY
13        MS. ZABEL: Yes, please.                              13 M. BRADLEY, a RPR-Notary Public, approved and agreed to,
14        MR. BELL: Yes, please.                                  and
15        (Off the record.)                                    14 afterwards reduced to typewriting under the direction of the
16        STENOGRAPHIC REPORTER: And there was just            15 said Reporter.
17 one more thing, the exhibit that you just showed,           16 I further certify that the proceedings and evidence are
18 are you going to send that to me? Did you need me           17 contained fully and accurately in the notes taken by me in
19 to attach it to the transcript?                             18 the within deposition, and that this copy is a correct
20        MS. ZABEL: Yes, I'll send that to you.               19 transcript of the same.
21        STENOGRAPHIC REPORTER: Okay.                         20 In testimony whereof, I have hereunto subscribed by hand
22        MS. ZABEL: And for the transcript, can I             21 this 3RD day of FEBRUARY, 2022.
23 just get electronic, no printed out version?                22 _________________________________________________
                                                                  Kelly M.
24        STENOGRAPHIC REPORTER: Yes.
                                                               23 Bradley, RPR, Notary Public In and for the Commonwealth of
25        MS. ZABEL: Thank you.
                                                               24 Pennsylvania My Commission Number 1079773 expires May 17,
                                                               25 2024 - - -
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 1            CORRECTION SHEET
 2 Deposition of: Detective Gregory Jara Date: 02/02/22
 3 Regarding: Quarles vs. Commissioner Outlaw
 4 Reporter:     Bradley
 5 ____________________________________________________
 6 Please make all corrections, changes or clarifications
 7 to your testimony on this sheet, showing page and line
 8 number. If there are no changes, write "none" across
 9 the page. Sign this sheet on the line provided.
10 Page Line Reason for Change
11 _____ _____ ________________________________________
12 _____ _____ ________________________________________
13 _____ _____ ________________________________________
14 _____ _____ ________________________________________
15 _____ _____ ________________________________________
16 _____ _____ ________________________________________
17 _____ _____ ________________________________________
18 _____ _____ ________________________________________
19 _____ _____ ________________________________________
20 _____ _____ ________________________________________
21 _____ _____ ________________________________________
22 _____ _____ ________________________________________
23 _____ _____ ________________________________________
24             Signature___________________________
25                  Detective Gregory Jara


                                                       15

 1              DECLARATION
 2 Deposition of: Detective Gregory Jara Date: 02/02/22
 3 Regarding: Quarles vs. Commissioner Outlaw
 4 Reporter:     Bradley
 5 ____________________________________________________
 6
 7 I declare under penalty of perjury the following to
 8 be true:
 9
10 I have read my deposition and the same is true and
11 accurate save and except for any corrections as made
12 by me on the Correction Page herein.
13
14 Signed at ____________________________, ____________
15 on the ______________ day of ________________, 2022.
16
17
18
19
20
21
22
23
24             Signature___________________________
25                  Detective Gregory Jara
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